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 6
                            IN THE UNITED STATES DISTRICT COURT
 7                  FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8
     JESSE G. COOPER, in his Personal Capacity         NO. ______________
 9   and as Personal Representative of the Estate of
     PAULA LEE JEFFERSON, deceased; DEVIN              COMPLAINT
10   B. COOPER, in his Personal Capacity; DEREK
     B. COOPER, in his Personal Capacity; and          JURY DEMANDED
11   L.C., a minor, by and through her brother and
     general guardian, JESSE G. COOPER,
12
     Plaintiffs,
13
     v.
14
     WHATCOM COUNTY, a political subdivision
15   of the State of Washington; NORTHWEST
     REGIONAL COUNCIL, a Washington non-
16   profit corporation; PEACEHEALTH, d/b/a
     PeaceHealth St. Joseph Medical Center, a
17   Washington non-profit corporation; BILL
     ELFO, in his Personal Capacity; WENDY
18   JONES, in her Personal Capacity; CALEB
     ERICKSON, in his personal capacity; STUART
19   ANDREWS, in his Personal Capacity;
     SHELLY ANDREWS, in her Personal
20   Capacity; KRISTINE GLASGOW, in her
     Personal Capacity; ADAM MILLER, in his
21   Personal Capacity; CHERYL CARDINAL, in
     her Personal Capacity; MATT TURNER, in his
22   Personal Capacity; JASON MCDONALD, in
     his Personal Capacity; MATTHEW
23   CHARROIN, in his personal capacity; TIM
     KIELE, in his Personal Capacity; KRISTA
24   ROBINSON, in her Personal Capacity;
     JEFFERY HINDMAN, in his Personal
25   Capacity; VIOLET IGNASHOVA, in her
                                                                     Galanda Broadman PLLC
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 1   Personal Capacity; MIRIAH BROWN, in her
     Personal Capacity; JOSHUA FARMER, in his
 2   Personal Capacity; and JOHN DOES 1-20,

 3   Defendants.

 4
            Plaintiffs, by and through their attorneys of record, Gabriel S. Galanda and Ryan D.
 5
     Dreveskracht, of Galanda Broadman, PLLC, allege and claim as follows upon personal knowledge
 6
     as to themselves as to their own actions, and upon information and belief upon all other matters:
 7
                                              I.       PARTIES
 8
            1.       Plaintiff JESSE G. COOPER is the duly appointed Personal Representative of the
 9
     Estate of his mother, PAULA LEE JEFFERSON. This is an action arising from Paula’s wrongful
10
     and unnecessary death and the Defendants’ negligence, gross negligence, and deliberate
11
     indifference to her serious medical condition and conditions of confinement. The claims herein
12
     include all claims for damages available under Washington and federal law to Paula, her Estate,
13
     and all statutory and actual beneficiaries.
14
            2.       JESSE G. COOPER is Paula’s son. He brings suit in his Personal Capacity and is
15
     entitled to damages for the loss of his mother.
16
            3.       DEVIN B. COOPER is Paula’s son. He brings suit in his Personal Capacity and is
17
     entitled to damages for the loss of his mother.
18
            4.       DEREK B. COOPER is Paula’s son. He brings suit in his Personal Capacity and
19
     is entitled to damages for the loss of his mother.
20
            5.       L.C. is Paula’s minor daughter. She brings suit in her Personal Capacity, by and
21
     through her brother and general guardian, JESSE G. COOPER, and is entitled to damages for the
22
     loss of her mother.
23
            6.       Defendant WHATCOM COUNTY is a political subdivision of the State of
24
     Washington.     Whatcom County has various departments including, but not limited to, the
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 1   Whatcom County Sheriff's Office and its Bureau of Custody and Corrections Services, which

 2   operates the jail. Whatcom County is, and was at all times mentioned herein, responsible for the

 3   actions or inactions, and the policies, procedures, and practices/customs of all correctional health

 4   services relating to the Whatcom County Jail (“Jail”). Whatcom County cannot contract-away its

 5   obligation to keep inmates in its custody in health and free from harm. Whatcom County is legally

 6   liable for the breach of this duty by such providers. West v. Atkins, 487 U.S. 42, 56 (1988). As a

 7   local government, Whatcom County is a “person” under 42 U.S.C. § 1983 and may be sued for

 8   constitutional injuries. Monell v. New York City Dept. of Social Servs., 436 U.S. 658, 694 (1978).

 9   Defendant Whatcom County, its jailers, and jail administrators—named and unnamed, identified

10   and unidentified—are hereafter identified collectively as “Whatcom County.”

11          7.       Defendant NORTHWEST REGIONAL COUNCIL (“NRC”) is a Washington non-

12   profit corporation, with its principal place of business believed to be Bellingham, Whatcom

13   County, Washington. NRC is a health care entity organized under the laws of the State of

14   Washington. NRC assumed a traditional governmental function and acted under color of state law

15   by supplying Jail pretrial detainees with medical care. Burke v. Regalado, No. 18-5042, 2019 WL

16   3938633, at *16 nn.10, 16 (10th Cir. Aug. 20, 2019) (citing West, 487 U.S., at 54). NRC

17   subcontracts with Whatcom County to supply nursing and medical administrative services to the

18   Jail. This includes the full scope of nursing services. NRC also establishes the Jail’s policies,

19   procedures, and medical protocols; coordinates of care with other contract providers and providers

20   in the community, such as the Hospital; and is responsible for overseeing the general

21   administration of the Jail’s nursing program.

22          8.       Defendant PEACEHEALTH d/b/a PeaceHealth St. Joseph Medical Center

23   (“Hospital”) is a Washington non-profit corporation, with its principal place of business believed

24   to be Bellingham, Whatcom County, Washington. Hospital is a health care entity organized under

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 1   the laws of the State of Washington. Hospital assumed a traditional governmental function and

 2   acted under color of state law by supplying the sole facility to which Jail pretrial detainees were

 3   transported to receive “fit for jail” assessments and emergency medical care. Prasad v. Cty. of

 4   Sutter, 958 F. Supp. 2d 1101, 1122 (E.D. Cal. 2013) (citing Lopez v. Dep’t of Health Servs., 939

 5   F.2d 881, 883 (9th Cir. 1991)).

 6           9.       Defendant BILL ELFO is the Whatcom County Sheriff. He is sued in his Personal

 7   Capacity. Defendant Elfo is a policymaker and supervisor responsible for the provision of medical

 8   services, the enactment and implementation of policies, practices, and customs relating to all

 9   aspects of the Jail.

10           10.      Defendant WENDY JONES is the Whatcom County Jail Chief. She is sued in her

11   Personal Capacity. Defendant Jones is a policymaker and supervisor responsible for the provision

12   of medical services, the enactment and implementation of policies, practices, and customs relating

13   to all aspects of the Jail.

14           11.      Defendant CALEB ERICKSON is the Whatcom County Corrections Lieutenant.

15   He is sued in his Personal Capacity. Defendant Erickson is a policymaker and supervisor

16   responsible for the provision of medical services, the enactment and implementation of policies,

17   practices, and customs relating to all aspects of the Jail.

18           12.      Defendant STUART ANDREWS (“Dr. Andrews”) is the Jail’s healthcare provider.

19   He subcontracts with Whatcom County to:

20           •     Conduct sick call at the Jail.

21           •     Examine, diagnose, prescribe, and provide appropriate treatment for inmates who are
                   manifesting symptoms of acute and/or chronic illness or injury.
22
             •     Order appropriate and necessary laboratory and x-ray services.
23
             •     Record on the permanent Jail Health Record necessary history and physical findings,
24                 diagnoses and orders for treatments (including entry into an Electronic Medical
                   Records system.
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 1          •     Refer to local specialists those patients, whose medical problems cannot be adequately
                  addressed by other methods or manners, including, but not limited to, consultation with
 2                the appropriate specialist, review of written reports, interpretation of medical test
                  results.
 3
            •     Have access to a number of different physicians, representing a variety of medical
 4                specialties, to be available for consultation.

 5          •     Provide consultation and necessary medical supervision to the jail nurses and other jail
                  personnel on matters relating to the health of inmates.
 6
            •     Conduct staff meetings every month with jail medical personnel to address jail medical
 7                concerns and protocols.

 8          •     Make arrangements to see an inmate whose condition requires urgent care that cannot
                  be delayed until the next scheduled medical clinic.
 9
            •     Work with the health care practitioners at the Jail to provide information clarification,
10                and opinion regarding medical situations, including, but not limited to, course of
                  treatment, necessity of immediate or postponed direct examination, ordering or
11                interpreting medical tests.

12          •     Provide for telephone consultation with jail medical personnel 24 hours a day, 7 days
                  a week.
13
     Dr. Andrews is sued in his Personal Capacity. Dr. Andrews is a policymaker and supervisor
14
     responsible for the provision of medical services, the enactment and implementation of policies,
15
     practices, and customs relating to all aspects of medical services within the Jail.
16
            13.      Defendant SHELLY ANDREWS (“Nurse Andrews”) is the Jail’s Nursing
17
     Supervisor. She is sued in her Personal Capacity. Nurse Andrews is a policymaker and supervisor
18
     responsible for the provision of medical services, the enactment and implementation of policies,
19
     practices, and customs relating to all aspects of nursing within the Jail.
20
            14.      Defendant KRISTINE GLASGOW is NRC’s Operations Director/Jail Health
21
     Administrator. She is sued in her Personal Capacity. Defendant Glasgow is a policymaker and
22
     supervisor responsible for the provision of medical services, the enactment and implementation of
23
     policies, practices, and customs relating to all aspects of medical care within the Jail.
24

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 1          15.      Defendant Deputy ADAM MILLER is an employee of Whatcom County. As a

 2   jailer and not a healthcare professional, Defendant Miller’s role is to serve as a gatekeeper for

 3   medical personnel capable of treating inmates. He is sued in his personal capacity.

 4          16.      Defendant Deputy CHERYL CARDINAL is an employee of Whatcom County. As

 5   a jailer and not a healthcare professional, Defendant Cardinal’s role is to serve as a gatekeeper for

 6   medical personnel capable of treating inmates. She is sued in her personal capacity.

 7          17.      Defendant Deputy MATT TURNER is an employee of Whatcom County. As a

 8   jailer and not a healthcare professional, Defendant Turner’s role is to serve as a gatekeeper for

 9   medical personnel capable of treating inmates. He is sued in his personal capacity.

10          18.      Defendant Deputy JASON MCDONALD is an employee of Whatcom County. As

11   a jailer and not a healthcare professional, Defendant McDonald’s role is to serve as a gatekeeper

12   for medical personnel capable of treating inmates. He is sued in his personal capacity.

13          19.      Defendant Deputy MATTHEW CHARROIN is an employee of Whatcom County.

14   As a jailer and not a healthcare professional, Defendant Charron’s role is to serve as a gatekeeper

15   for medical personnel capable of treating inmates. He is sued in his personal capacity.

16          20.      Defendant Deputy TIM KIELE is an employee of Whatcom County. As a jailer

17   and not a healthcare professional, Defendant Kiele’s role is to serve as a gatekeeper for medical

18   personnel capable of treating inmates. He is sued in his personal capacity.

19          21.      Defendant KRISTA ROBINSON is a healthcare provider employed at the Jail.

20   Defendant Robinson is sued in her personal capacity.

21          22.      Defendant Deputy JEFFERY HINDMAN is an employee of Whatcom County. As

22   a jailer and not a healthcare professional, Defendant Hindman’s role is to serve as a gatekeeper for

23   medical personnel capable of treating inmates. He is sued in his personal capacity.

24

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 1          23.      Defendant Deputy VIOLET IGNASHOVA is an employee of Whatcom County.

 2   As a jailer and not a healthcare professional, Defendant Ignashova’s role is to serve as a gatekeeper

 3   for medical personnel capable of treating inmates. She is sued in her personal capacity.

 4          24.      Defendant Deputy MIRIAH BROWN is an employee of Whatcom County. As a

 5   jailer and not a healthcare professional, Defendant Brown’s role is to serve as a gatekeeper for

 6   medical personnel capable of treating inmates. She is sued in her personal capacity.

 7          25.      Defendant Deputy JOSHUA FARMER is an employee of Whatcom County. As a

 8   jailer and not a healthcare professional, Defendant Framer’s role is to serve as a gatekeeper for

 9   medical personnel capable of treating inmates. He is sued in his personal capacity.

10          26.      Defendants JOHN DOES 1 - 10 are subcontractors, employees, and/or agents of

11   Whatcom County. Each JOHN DOE 1 - 10 was within the scope of his/her employment at all

12   times relevant hereto. Each JOHN DOES 1 - 10 was negligent; acted in furtherance of an official

13   and/or de facto policy or procedure of negligence; and/or were responsible for the promulgation

14   of the policies and procedures and permitted the customs/practices pursuant to which the acts

15   alleged herein were committed. Their identities are unknown at this time and will be named as

16   discovery progresses.

17          27.      Defendants JOHN DOES 10 - 15 are subcontractors, employees, and/or agents of

18   NRC. Each JOHN DOE 10 - 15 was within the scope of his/her employment at all times relevant

19   hereto. Each JOHN DOES 10 - 15 was negligent; acted in furtherance of an official and/or de

20   facto policy or procedure of negligence; and/or were responsible for the promulgation of the

21   policies and procedures and permitted the customs/practices pursuant to which the acts alleged

22   herein were committed. Their identities are unknown at this time and will be named as discovery

23   progresses.

24

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 1           28.      Defendants JOHN DOES 16 - 20 are subcontractors, employees, and/or agents of

 2   Hospital. Each JOHN DOE 16 - 20 was within the scope of his/her employment at all times

 3   relevant hereto. Each JOHN DOES 16 - 20 was negligent; acted in furtherance of an official and/or

 4   de facto policy or procedure of negligence; and/or were responsible for the promulgation of the

 5   policies and procedures and permitted the customs/practices pursuant to which the acts alleged

 6   herein were committed. Their identities are unknown at this time and will be named as discovery

 7   progresses.

 8           29.      Each and every Defendant was personally involved in Paula’s constitutional

 9   deprivations in that they: (1) participated directly in the alleged constitutional violation; (2) after

10   being informed of the violation through a report or appeal, failed to remedy the wrong; (3) created

11   a policy or custom under which unconstitutional practices occurred, allowed the continuance of

12   such a policy or custom, or ratified the acts of subordinates thereby establishing a policy or custom;

13   (4) was grossly negligent in supervising subordinates who committed the wrongful acts; and/or (5)

14   exhibited deliberate indifference to Paula’s rights by failing to act on information indicating that

15   unconstitutional acts were occurring.

16                                 II.     JURISDICTION AND VENUE

17           30.      This action arises under Washington State’s wrongful death law and the

18   Constitution and laws of the United States, including 42 U.S.C. § 1983. This Court has subject

19   matter jurisdiction pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over the state law

20   claims pursuant to 28 U.S.C. § 1367.

21           31.      Venue is proper in the Western District of Washington pursuant to 28 U.S.C.§

22   1391(b)(1) and (b)(2). Whatcom County is located in this District, and the events and omissions

23   giving rise to the claims in this action occurred in this District

24

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 1                                III.     STATUTORY COMPLIANCE

 2          32.      On July 12, 2016, Plaintiff filed an administrative claim for damages with Whatcom

 3   County. A supplemental administrative claim was filed on October 28, 2019. More than sixty

 4   days (60) have elapsed since the filing of that administrative claim. Plaintiffs have satisfied the

 5   prerequisites to the maintenance of this action per Chapter 4.92 RCW.

 6                                   IV.     STATEMENT OF FACTS

 7   A.     AUGUST 9-10, 2017

 8          33.      On August 9, 2017, at about 11:20 a.m., Police Officers of the Lummi Nation Police

 9   Department (“Tribal Police”) were dispatched to a possible Driving Under the Influence (“DUI”)

10   on the 2700 block of Lummi Shore Road, on the Lummi Indian Reservation.

11          34.      Tribal Police came upon Paula in her vehicle in front of her house with two cans of

12   Four Loko inside the vehicle, one of which was about ¼ full and set inside the cup holder in the

13   console of the vehicle. “Four Loko is a fruit-flavored malt beverage that is sold in 23.5 ounce

14   cans. Each can of Four Loko is 12% alcohol by volume.” Phusion Projects, Inc. v. Selective Ins.

15   Co. of S.C., 46 N.E.3d 1190, 1192 (Il. App. 2015).

16          35.      Paula was visibly intoxicated and lost her balance on almost every Standardized

17   Field Sobriety Test administered by the Tribal Police.

18          36.      Paula was then transported to the Lummi Police Department, where at 12:09 p.m.

19   she was given a breathalyzer test, which registered at a .308 blood alcohol content (“BAC”).

20          37.      Tribal Police transported Paula to the Jail, arriving at 2:17 p.m.

21          38.      Based on her .308 BAC, the booking deputy consulted with Defendant Robinson,

22   who concluded that Paula “[a]bsolutely” needed to be set to the Hospital for a “fit for jail” exam.

23

24

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 1           39.     At this point, Paula was in the custody of Whatcom County. See, e.g., ENMCrR

 2   7.2 (“Should the jail require a fit for jail prior to booking, the defendant will still be considered in

 3   custody” of the Jail); see also SMMCrR 7.2 (same); BNMCrR 7.2 (same).

 4           40.     Paula and the Tribal Police left the Jail at 2:36 p.m. and arrived at the Hospital

 5   triage center at approximately 2:50 p.m.

 6           41.     Paula was checked in by Hospital staff, her vitals were taken, and she waited in the

 7   triage waiting room for approximately twenty-five minutes.

 8           42.     In the year preceding this incident, Paula was admitted to the Hospital numerous

 9   times. The Hospital was intimately familiar with Paula’s numerous serious medical conditions—

10   including frequent seizures—and the medication that was required to keep her in good health. Yet

11   Hospital employees did not consult Paula’s medical records or utilize this information in her

12   treatment. In fact, the Hospital concealed this information from the Tribal Police and the Jail.

13           43.     At approximately 3:15 p.m., a Hospital employee (likely a doctor) took Paula’s

14   pulse again, listened to her chest and back, and examined her eyes. After performing this “test,”

15   this Hospital employee told the Tribal Police that Paula “appeared fit, but was at a high risk for

16   withdrawal” and that he would get Paula “cleared and out of the Hospital shortly.”

17           44.     The Hospital did not administer a toxicology screen or otherwise take any

18   efforts to determine what/how much substance(s) Paula had ingested.

19           45.     The Hospital did not prescribe any medications or offer any recommendations other

20   than a “f[ollow] u[p] with her physician in 3 days for further evaluation and treatment.”

21           46.     Approximately fifteen minutes later, at 3:30 p.m., another Hospital employee

22   (likely a nurse) entered the room with Paula’s discharge paperwork. This Hospital employee told

23   Paula and the Tribal Police that Paula was “at a high risk for withdrawal.” The Tribal Police asked

24

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 1   “if [Paula] needed any prescriptions,” to which the Hospital employee responded, “it would be as

 2   the Jail saw fit.” No prescriptions were issued by the Hospital.

 3          47.     Paula arrived back at the Jail roughly one hour and ten minutes after she left for the

 4   examination, at 3:47 p.m.

 5          48.     Paula was placed in a Jail shower/holding area at 4:01 p.m., and Defendant

 6   Farmer—who is not health trained—administered the Jail’s medical and booking questionnaire.

 7          49.     Defendant Farmer indicated that Paula answered “yes” to having numerous serious

 8   health issues (e.g., “don’t have a liver or kidney,” “has liver failure,” “had a seizure 3 weeks ago,”

 9   “has high blood pressure, Hep C, [and] has skin cancer”) and previously being “hospitalized for

10   alcohol withdrawal.”

11          50.     According to Defendant Farmer himself, his evaluation of Paula consisted of

12   looking at her identification, going through the medical screening questions, and “accept[ing] the

13   fit for jail paperwork (reviewing only briefly for medication).”

14          51.     At no time did Defendant Farmer review or request a toxicology report to determine

15   what exactly Paula had ingested and was causing her to act “intoxicated” and “slurring her words.”

16          52.     Nor did Defendant Farmer refer Paula to a medical provider immediately, given her

17   known serious medical issues that he was just informed of.

18          53.     The Tribal Police watched Defendant Farmer administer the Jail’s medical and

19   booking questionnaire and left when it was completed—less than ten minutes later.

20          54.     Defendant Brown—who had just been hired by Whatcom County and had little

21   experience or training on the booking process—conducted a search of Paula’s body.

22          55.     Defendant Brown observed that Paula was still extremely intoxicated and had a

23   hard time understanding her commands.

24          56.     Defendant Brown did not conduct a “full search” on Paula—just a “pat-down.”

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 1          57.     Defendant Brown did not refer Paula to a medical provider.

 2          58.     At 5:00 p.m. Paula was housed on the third floor, in a dormitory room housing

 3   thirteen females at the time.

 4          59.     Deputy Brian Lloyd decided to house Paula in general population, because he

 5   “didn’t think that her blood alcohol content would be a concern for approximately a day or so” and

 6   that “she would be fine until medical had a chance to screen her medical screening” on the

 7   afternoon of the 10th (the next day).

 8          60.     Because the medical staff had not yet screened Paula’s medical records she was

 9   given no medication at this time. According to Deputy Lloyd, this was in accordance with

10   Whatcom County and NRC’s policy: “Usually the policy is medical staff screens her medical

11   screening within twenty-four hours and then decides what treatment they’re going to give her.”

12          61.     At roughly 6:00 p.m., Paula hit the call light in the third-floor dormitory. Deputy

13   Jeffery Hindman answered the call and was informed by Paula that “she was not feeling well and

14   that she knew she would be withdrawing from alcohol.” Deputy Hindman then called someone

15   from nursing, told them of Paula’s medical need, and was told to bring Paula down to the first

16   floor, Room 129.

17          62.     At 6:34 p.m. Paula was rehoused on the first floor, and a portable breath test was

18   administered. According to Deputy Lloyd, who conducted the test, Paula’s BAC registered at

19   “approximately .25.”

20          63.     At some point after being housed on the first floor Paula was so sick that, according

21   to Defendant Turner, “she asked for um, new clothing cuz she had soiled her clothing”—a request

22   that Defendant Turner ignored.

23          64.     Shortly thereafter, Defendant Turner observed that Paula was “vomiting into the

24   toilet”—which he also ignored.

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 1          65.     From his position at Control during his two-hour rotation on the First Floor,

 2   Defendant Deputy Adam Miller also observed the physical manifestations of Paula’s serious

 3   medical needs (i.e. vomiting) and heard her requests for medical aid—which he too ignored.

 4          66.     Defendant Miller also failed to check on Paula as required by policy and the

 5   applicable standard of care.

 6          67.     Indeed, Defendant Miller is known by Whatcom County and its supervising

 7   employees to flout official policy, at times even having sexual relationships with inmates and

 8   intimidating inmate-witnesses who might testify against him.

 9          68.     Paula’s last phone call was to her son, Jessie, at some time in after her transfer to

10   the first floor. She told him that she loved him and that unless she got some medical help soon,

11   which she had been requesting, she “was going to die in here.”

12          69.     At roughly 5:50 a.m., the next day, August 10, 2017, Paula informed Defendant

13   Ignashova that she was in serious need of medical care—a request that Defendant Ignashova

14   ignored and did not pass on to the Jail’s medical providers.

15          70.     At approximately 7:00 a.m., Nurse Andrews was advised that Paula was in the need

16   of medical attention due to her “potential withdrawal.” Yet Nurse Andrews—Whatcom County’s

17   nursing supervisor—made no contact with Paula or took any efforts to ensure that she was in

18   receipt of the care that she needed to stay safe and alive.

19          71.     In fact, at no time did Nurse Andrews make contact with Paula. At no time did

20   Nurse Andrews request, receive, or review medical records from the Hospital. At no time did

21   Nurse Andrews review anything related to Paula’s current presentation. At no time did Nurse

22   Andrews review or request a toxicology report to determine what exactly Paula had ingested or

23   was supposedly “withdrawing” from.

24

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 1           72.    Meanwhile, also at roughly 7:00 a.m., Paula informed Defendant Charroin that she

 2   was in serious need of medical care—a request that Defendant Charroin also ignored and did not

 3   pass on to the Jail’s medical providers.

 4           73.    Defendant McDonald ignored similar requests for medical attention. According to

 5   Defendant McDonald himself: “First thing this morning at least two deputies said that she was at

 6   the door asking to talk to medical. . . . Between, I would say, six am and ten, ten thirty, I’m not

 7   sure exactly, she probably stopped me twice to ask to talk to medical . . . .”

 8           74.    At no point did Defendant McDonald observe Paula eat any of her meals, drink any

 9   water, or ingest anything during his entire shift.

10           75.    According to Defendant McDonald, nobody procured medical attention for Paula

11   because the consensus amongst Jail deputies was that “medical already knows, they know all about

12   her.”

13           76.    At roughly 8:30 a.m., Paula reached out to Deputy Zachary Neufeld, asking for

14   medical attention. Deputy Neufeld notified Defendant Robinson, who informed him that she was

15   “gonna start some medication for alcohol withdrawals.”

16           77.    Defendant Robinson did not start any medication. Defendant Robinson merely

17   observed Paula and described her pain and suffering to Jail deputies as sheer “withdrawal

18   symptoms.”

19           78.    Paula indicated to Defendant Robinson that she had just recently been hospitalized

20   due to her other serious medical issues and that she was feeling seriously ill.

21           79.    The only care provided by Defendant Robinson was to suggest to Paula, “Hey, you

22   have some Gatorade in your cell. Definitely be drinkin’ that Gatorade.” No medication was

23   dispensed, ordered, or prescribed. No substantive medical care was administered. At no time did

24

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 1   Defendant Robinson review or request a toxicology report to determine what exactly Paula had

 2   ingested or was supposedly “withdrawing” from.

 3          80.     Deputy Alan Epps observed Defendant Robinson’s assessment. He described

 4   Paula at this time appearing obviously “ill,” having slurred speech, and that she “just seemed like

 5   somebody who was coming down from, from some type of um influence, under the influence of

 6   something.”

 7          81.     Paula was by this time so weak that Deputy Epps and Deputy Neufeld had to help

 8   Paula from her bunk to a chair so that she could be “examined”—and back to her bunk after the

 9   “examination” was over.

10          82.     Shortly thereafter, at roughly 10:10 a.m., Paula complained to Defendant Robinson

11   again about her serious medical need. This request was again ignored.

12          83.     At no time did Defendant Robinson request, receive, or review medical records

13   from the Hospital. At no time did Defendant Robinson review anything related to Paula’s current

14   presentation. At no time did Defendant Robinson review or request a toxicology report to

15   determine what exactly Paula had ingested or was supposedly “withdrawing” from.

16          84.     Defendant McDonald’s last interaction with Paula was at 10:30 a.m. Paula again

17   asked for medical aid at this time—a request that was again ignored by Defendant McDonald.

18          85.     Defendant Kiele was working a 16-hour shift on August 10, assigned to the first

19   floor where Paula was housed. He was in charge of “walk throughs” and “security checks” on the

20   entire first floor—and he missed a number of them because “was working in booking on several

21   issues,” preparing for his second shift as “acting Sargent.”

22          86.     As to the timing of his checks, Defendant Kiele has attested:

23          [I]t takes less than a minute to walk through the floor as long as you’re checking to
            make sure that everybody’s okay. Um and so we primarily look to see if here is
24          anybody that’s potentially hanging, um anybody that may have medical issues. On
            this given day I was notified by the grave yard staff that I relieved that there were
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 1          no close watches, anybody that was under any uh, thirty minute or fifteen minute
            watches, which would mean that we have a timer in the booking area that we
 2          actually set and a buzzer goes off to let us know that we need to go to that specific
            cell and check on that specific individual. This morning when I came in there was
 3          nobody that we had to have the timer on to go to religiously within a half an hour
            period. Um, so I wasn’t concerned about that.
 4
            87.     According to Deputy Lloyd, however, Paula was indeed put “on thirty minute
 5
     checks . . . as a female going through withdrawals.” This obviously contradicts Defendant Kiele’s
 6
     self-serving story.
 7
            88.     Defendant Kiele did interact with Paula on a number of occasions, however, when
 8
     she was obviously in need of medical care. Defendant Kiele knew that Paula was on detox
 9
     protocol, had come in with a BAC of .308, and that she had recently been in the hospital. Yet he
10
     did not ensure that a more frequent or thorough cell checks were conducted or refer her to a medical
11
     provider—even though she was constantly requesting medical aid.
12
            89.     At some time between 8:00 and 9:00 a.m. Dr. Andrews allegedly consulted with
13
     someone on his nursing staff, after reviewing Paula’s medical record. Based on Paula’s “several
14
     health concerns,” Dr. Andrews “recommended increased fluid intake” to someone on his medical
15
     staff. At no time did Dr. Andrews make contact with Paula. At no time did Dr. Andrews request,
16
     receive, or review medical records from the Hospital or the Jail. At no time did Dr. Andrews
17
     review anything related to Paula’s current presentation. At no time did Dr. Andrews review or
18
     request a toxicology report to determine what exactly Paula had ingested or was supposedly
19
     “withdrawing” from.
20
            90.     At 12:27 p.m. Paula was found dead in her cell—almost two hours having passed
21
     without any Jail employee conducting a security or safety check. She was cold to the touch and
22
     ashen, with an oxygen level of 70%—which dropped to 58% by 12:38 p.m., when EMTs arrived.
23
            91.     Nurse Brittany Nave, who attempted to administer lifesaving aid to Paula, testified
24
     that nobody working on her shift “seemed to know what [Paula’s] medical care entailed.”
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 1          92.     The Whatcom County Medical Examiner found that Paula died from “probable

 2   methadone intoxication.”

 3          93.     Defendant Andrews confessed, post-mortem, that “he should have perhaps

 4   recommended Narcan earlier in the process.” Narcan is the trade or brand name of the narcotic

 5   antagonist “naxolone,” which is used “for the complete or partial reversal of narcotic depression,

 6   including respiratory depression, induced by narcotics.” State v. Parisi, 875 N.W.2d 619, 622 n.3

 7   (Wis. 2016). Narcan was never administered to Paula.

 8          94.     Also post-mortem, Defendants Jones and Nurse Andrews were overheard by

 9   Defendant McDonald discussing Paula’s past known serious medical issues—presumably because

10   these serious medical issues (which were never treated by Defendants) more likely than not

11   significantly contributed to her death (and Defendants Jones and Nurse Andrews knew it).

12          95.     Also post-mortem, NRC Operations Director / Jail Health Administrator wrote to

13   Defendant Erickson, alarmed at the substandard care that Paula received at the Hospital:

14

15

16          96.     Also post-mortem, Defendant Erickson admitted that the Jail’s failure to implement

17   an adequate Fit for Jail policy likely contributed Paula’s death by: (a) failing to provide the

18   Hospital with a form to “identif[y] specific labs, medication review, diagnosis, imaging, and

19   suggested follow up care”; and (b) failing to complete “toxicology screening on all inmates who

20   say they are going to withdrawal from drugs or alcohol.”

21          97.     Also post-mortem, Dr. Gib Morrow, the Responsible Physician at the Jail, issued

22   the following critique:

23          [Paula’s] workup [at the Hospital] did not include labs other than a breathalyzer
            alcohol level which confirmed the presence of alcohol. Additional labs were not
24          preformed, nor was an ECG obtained during that evaluation. Despite this
            individual’s chronically ill health status, she was transferred back to jail with an
25          evaluation that she was “fit for jail” but deemed to be at “high risk for alcohol
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 1          withdrawal.” In retrospect, labs that might have altered the outcome of this case
            would include an ECG checking for prolongation of the QT interval on her ECG,
 2          given her history of illicit methadone use. Electrolytes would have perhaps
            revealed the presence of hypomagnesemia or other electrolyte imbalance which
 3          would contribute to the potential for methadone induced arrythmias. A serum
            ammonia level, which was elevated at over three times the upper limit of normal
 4          on her prior hospitalization admission, may have indicated the likelihood of hepatic
            encephalopathy which might increase the potential for over-sedation. A urine or
 5          serum toxicology screen would have likely confirmed the presence of methadone,
            which would have further complicated her already tenuous condition.
 6
            98.     Also post-mortem, Defendant Glasgow wrote that the following may have
 7
     “changed the outcome in this event”:
 8

 9

10

11

12   B.     POLICIES AND ESTABLISHED PRACTICES THAT CAUSED PAULA’S DEATH.

13          99.     According to its written policy, Whatcom County has three levels of supervision

14   that are relevant here: (a) “Close watch,” which requires visual observation on an irregular 15-

15   minute basis; (b) “Security checks,” which require a visual inspection verifying inmate welfare

16   every hour; and (c) “Lockdown security checks,” which require a visual inspection verifying

17   inmate welfare every half-hour, and occurs twice a day (during meal service and from 10:00 p.m.

18   until head count is completed around 6:00 a.m.).

19          100.    In 2017 it was Whatcom County and NRC’s established practice to place
                                                                                                CIR 00597
20   individuals with serious medical needs, including drug and alcohol withdrawal, on hourly “security

21   checks” instead of “close watch.” Defendant Robinson confirmed as much in an interview given

22   shortly after Paula’s death.

23          101.    In fact, in 2017 Whatcom County had no formal security check on the first floor.

24   According to Defendant Erickson himself, “there is no specific policy for placing offenders on or

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    1   off of segregation (Medical or otherwise)” and the Security Check policy that the County does

    2   have “doesn’t cover first floor at all.”

    3           102.    In 2017 it was Whatcom County and NRC’s established practice and policy to

    4   conduct medical screening twenty-four hours after an inmate arrives at the Jail, even if the inmate

    5   has serious medical condition(s) and is requesting immediate medical aid.

    6           103.    Because Whatcom County’s pre-booking area is insufficient to ensure medical

    7   confidentiality, the Jail had an established practice of obtaining insufficient medical screenings—

    8   which were administered by non-health trained Jail employees. That this configuration would lead

    9   to inmate harm and delays or lapses in medical care was well-known to Jail Supervisors.

   10           104.    As Defendant Jones herself wrote in a recent budget request:

   11         Our current practice is to ask a series of health screening questions while the
              offender is waiting, with the arresting officer, in the pre-booking area of the jail.
   12

   13
                       Whatcom County Jail
              Because this space is on the other side of the security perimeter, questions are asked
              over a microphone/speaker arrangement, with the Deputy on one side of a thick,
              impact resistant window and the offender on the other. This means anyone in the
              prebooking area can hear both the questions and the response. Questions cover
   14         everything from medications to history of communicable diseases and behavioral
              health issues. No[t] surprisingly, offenders are often reluctant to share that
Not15 so    “Confidential”             Medical
              information, which can lead   to delays in Interview
                                                         treatment.         through Food                       Port
   16           105.    Once the inmate is housed, medical care is administered through a food port:

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 1   That this practice puts inmates with medical needs at an increased risk of harm and/or death would

 2   be obvious to any medical or corrections professional exercising his or her professional judgment.

 3   Whatcom County, NRC, and their policymakers knew that this policy would seriously injure or

 4   kill inmates, yet maintained it nonetheless.

 5           106.    Whatcom County, vis-à-vis Defendant NRC, has an established practice of

 6   understaffing the Jail’s nursing program. In order to save costs, NRC’s pay scale placed their

 7   nursing salaries about 15% below average market rates, which left the Jail significantly

 8   understaffed. Understaffing, coupled with the approximately 11% increase between 2016 and

 9   2018 in the number of contacts the nurses are having with inmates, put pretrial detainees at a

10   significantly increased risk of harm and death.

11           107.    Whatcom County has a policy of overcrowding.

12           108.    Whatcom County, NRC, and their policymakers set into place a custom or practice

13   of failing to provide sufficient medical health staff coverage for inmates and detainees of the Jail.

14           109.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

15   practice of failing to follow the staffing guidelines as set forth in the standards published by the

16   National Commission on Correctional Healthcare.

17           110.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

18   practice of providing financial incentives to employees who prevented emergency room visits by

19   inmates and detainees of the Jail.

20           111.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

21   practice of not referring inmates and detainees suffering severe withdrawal symptoms to licensed

22   acute care facilities and/or hospital settings.

23

24

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 1           112.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

 2   practice of not using intravenous therapy or any other medically necessary care to treat inmates

 3   and detainees while they withdraw from opiates or alcohol.

 4           113.    It was not until Whatcom County was sued over this policy that Whatcom County

 5   changed its policy. Complaint, Kortlever v. Whatcom County, No. 18-0823 (W.D. Wash. Jun. 6,

 6   2018), Dkt. # 1.

 7           114.    As a result of the Kortlever litigation, Whatcom County now has an opiate

 8   withdrawal policy, a medication assisted treatment for opioid use disorder maintenance policy,

 9   and a medication-assisted treatment for opioid use disorder induction policy. Id. Dkt. # 35-1. But

10   these policies are too little, too late, for Paula.

11           115.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

12   practice of not using intravenous therapy to treat inmates and detainees suffering from dehydration.

13           116.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

14   practice of failing to follow monitoring guidelines relating to medical detoxification.

15           117.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

16   practice of failing to train its employees in the recognition of severe, progressive, and life-

17   threatening withdrawal and/or overdose.

18           118.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

19   practice of failing to establish and carry out a continuous quality improvement program, including

20   a quality improvement committee.

21           119.    Whatcom County, NRC, and their policymakers set into place a policy, custom, or

22   practice of failing to meet widely accepted community standards of care with regard to medical

23   services for ill or injured inmates and detainees of the Jail.

24

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 1               120.   Whatcom County, NRC, and their policymakers set into place a policy, custom, or

 2   practice of failing to hold regular staff meetings to monitor, plan, or resolve problems with

 3   healthcare delivery.

 4               121.   Whatcom County, NRC, and their policymakers set into place a policy, custom, or

 5   practice of failing to provide adequate supervision to assistant medical personnel by an on-site

 6   physician.

 7               122.   Whatcom County, NRC, their policymakers, and Dr. Andrews set into place a

 8   policy, custom, or practice of failing to comport with Dr. Andrews’ contract, including a failure to

 9   conduct staff meetings every month with jail medical personnel to address jail medical concerns

10   and protocols.

11               123.   Whatcom County, NRC, and their policymakers set into place a policy, custom, or

12   practice of denying inmates and detainees at the Jail access to appropriate, competent, and

13   necessary care for serious medical needs.

14               124.   Whatcom County, NRC, and their policymakers set into place a policy, custom, or

15   practice of not providing naxolone (Suboxone or Narcan) to patients suffering from withdrawal.

16               125.   Whatcom County, NRC, and their policymakers set into place a policy, custom, or

17   practice of denying necessary medical care, if said detainees are thought to be soon released from

18   the jail.

19               126.   Whatcom County, NRC, and their policymakers set into place a policy, custom, or

20   practice of discouraging transferring detainees to an acute care facility and/or hospital for medical

21   care.

22               127.   Whatcom County has one of the highest use rates of opioids in the state of

23   Washington. Yet Whatcom County has one of the laxest intake contraband search policies in the

24   state. It has been well known at Whatcom County, for years, that (1) the presence of smuggled

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 1   opiates creates a significant risk of serious harm and/or death to inmates; and (2) the only reliable

 2   method for detection of contraband being smuggled in by arrested persons is by the use of a body

 3   scanner. Despite experiencing a death and a number of near-deaths, assaults, and fights (including

 4   one that resulted in 3 female offenders going to prison), due to the introduction of drugs into the

 5   facility, the Jail has yet to employ the use of a body scanner to ensure that drugs are not smuggled

 6   into the facility. Whatcom County’s and its policymakers’ maintenance of this policy, despite its

 7   known and obvious detrimental consequences, constitutes negligence, gross negligence, and

 8   deliberate indifference.

 9          128.    The Jail has a policy of collecting a $5 fee from inmates for all sick calls—meaning

10   that inmates are charged for providing a service that the Jail is legally bound to provide free of

11   cost. The fact that most pretrial detainees are insolvent, combined with this policy, results in a

12   known and obvious disinclination on the part of inmates to put in formal requests for medical care

13   and an increased risk of serious harm or death.

14          129.    The Jail is constantly understaffed. Deputies are routinely unable to complete tasks

15   without interruption, and must work on several different tasks simultaneously, which increases

16   errors and reduces safety. Sergeants perform as working supervisors, completing not only the

17   administrative function of a first level supervisor, but assisting the Deputies in the routine tasks of

18   the jail. Staffing is spread so thin that many routine functions, such as security checks, are not

19   performed. Mandatory training and staff supervision are also difficult due to the Jail’s understaffed

20   condition. All of which results in an increased risk of harm or death to inmates. Which is what

21   happened here (e.g. Defendant Kiele).

22          130.    The Jail’s policy of deeming inmates with a BAC of above .25 to be “fit for jail” is

23   out of step with national standards and falls far below the applicable standard of care. Cf., e.g.,

24   City of Olympia, General Order 75.1.6, § I.E (“Corrections staff shall not accept custody of

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 1   prisoners with untreated medical conditions including: . . . Prisoners with a breath alcohol level of

 2   0.25 or greater.”); Contract Between Pacific County Sheriff's Office and the City of South Bend,

 3   Washington, § II.I.3.a, available at https://www.co.pacific.wa.us/commissioner/interlocal-

 4   agreements/AUGUST%202012/8-14%20SB%20Boarding%20Prisoners%20Contract.pdf                                  (“An

 5   adult must have an breath or blood alcohol level less than .25 grams/210 liters of breath and

 6   decreasing” to be “fit for incarceration in the jail”). In fact, it would be obvious to any corrections

 7   professional exercising his or her professional judgment that a policy of deeming inmates with a

 8   BAC of above .25 to be “fit for jail” would put inmates such as Paula at serious risk of harm or

 9   death. Whatcom County’s and its policymakers’ maintenance of this policy, despite its known

10   and obvious detrimental consequences, constitutes negligence, gross negligence, and deliberate

11   indifference.

12          131.     The Jail does not have separate spaces for confidential medical examinations,

13
                          Whatcom County Jail
     counseling, treatment, and procedures. Not surprisingly, inmates are often disinclined to submit

14   to treatment in these conditions, which causes delays in treatment—which leads to serious injury

15                               Booking,
     and death. All of which is well            Suicide
                                     known to Whatcom CountyWatch,
                                                            and its policymakers.

16          132.
                                        Medical Holding:
                     The Jail uses the same room for booking, suicide watch, and medical holding—

17
                 Mixing Functions that should be Separated
     mixing functions that should be separated:

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 1

 2   The utilization of this area for combined purposes results in an increased risk that inmates’ serious

 3   medical needs will not be tended to appropriately—a risk that was well known by Whatcom

 4   County.

 5          133.     Defendant Elfo, for instance, has publicly admitted that the Jail does not have the

 6   “space to appropriately house and treat those with medical and behavioral health issues.” Bill

 7   Elfo, Here’s What Sheriff Says of Whatcom County Jail Booking Restrictions, Bellingham Herald,

 8   Jul.      23,     2016,      available      at      https://www.bellinghamherald.com/opinion/op-

 9   ed/article91348812.html.

10          134.     The Defendants’ lack of clear delineation of authority and inadequate means of

11   communication with respect to assessing medical risks was an additional policy that caused their

12   failure to prevent Paula’s pain, suffering, and death. In essence, there is a “who’s on first” problem

13   at the Jail where an established practice of non-communication to one another or amongst

14   themselves in regard to inmate medical safety has been implemented.

15          135.     It is a common and widespread practice at the Jail to ignore information related to

16   healthcare in a measured attempt to avoid liability in a deliberate indifference action, by claiming

17   a lack of knowledge.

18          136.     Whatcom County has a policy of placing inmates in solitary confinement cells,

19   without a mental or physical health assessment, regardless of whether the inmate’s healthcare

20   needs contraindicated such confinement.

21          137.     Defendants maintained a policy of using cursory health screening that essentially

22   amounted to no screening at all for incoming inmates.

23          138.     Defendants maintained a policy of permitting employees to provide clearly

24   inadequate medical care.

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 1           139.    Defendant Whatcom County maintained a policy of underfunding that resulted in

 2   understaffing, economy-grade subcontractors, an inability to implement additional medical

 3   precautions, and undertraining.

 4           140.    Whatcom County’s official policies have remained static for decades. This, in and

 5   of itself created a significant risk of serious harm. The danger in lack of a more frequent review

 6   of policies is that they are not kept current with the emerging body of knowledge that guide most

 7   competent corrections officials. Whether standards have changed as a result of litigation or due to

 8   advancements in correctional knowledge, policies without frequent review are behind the times

 9   and inadequate to provide sufficient guidance to facility staff, as is the case with the policies of the

10   Jail.

11           141.    Whatcom County, Sheriff Bill Elfo, and Jail Chief Wendy Jones knowingly

12   allowed numerous deficiencies to go unaddressed for years; as did Dr. Andrews, Nurse Andrews,

13   NRC, and Hospital—each of which was responsible for supervising numerous aspects of medical

14   care for the Jail. Each of these Defendants maintained a policy or custom of insufficient resources

15   and training, chronic delays in care, and indifference toward medical needs at the jail, and did so

16   knowing of an urgent need for reform. In addition, Sheriff Elfo and Chief Jones’ control over

17   medical providers at the Jail leaves little doubt they were subordinates whose constitutional

18   violations would form the basis for supervisory and municipal liability.

19           142.    In sum, numerous constitutional violations occurred in regard to Paula’s medical

20   care. The fact that not every single violator is named as a Defendant—and that some are identified

21   merely by placeholder John Does—does not limit supervisor, policymaker, or municipal liability.

22   Carter v. Broome Cty., No. 16-0422, 2019 WL 3938088, at *7 (N.D.N.Y. Aug. 21, 2019).

23           143.    Upon information and belief, some of the above-discussed policies were changed

24   after Paula’s death. While it is worthy that Whatcom County and NRC have finally addressed

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 1   these grievous deficiencies, that these “policies were drafted because of an awareness that the pre-

 2   existing policies were substantially likely to lead to a violation of citizens’ rights” is a reason for

 3   liability, not a defense thereto. Haberle v. Borough of Nazareth, No. 18-3429, 2019 WL 4065031,

 4   at *3 (3d Cir. Aug. 29, 2019) (quotation omitted).

 5          144.    A death in a correctional facility is a very serious incident. A death by medical

 6   complications typically causes an incident review to occur which includes a complete accounting

 7   of what happened, what lessons can be learned from the event and what changes need to be made

 8   in order decrease the likelihood that it occurs again. Had Whatcom County officials had an

 9   adequate policy in place to review previous incidents of in-custody deaths, accommodations could

10   have been made that would have kept Paula safe and alive.

11          145.    Upon information and belief, all of the acts and omissions taken in regard to the

12   care and custody of Paula were in accordance with Whatcom County and NRC’s established

13   practices and/or were ratified by these entities’ policymakers.

14                                             V.      CLAIMS

15   A.     FIRST CAUSE OF ACTION – NEGLIGENCE, MEDICAL NEGLIGENCE, GROSS NEGLIGENCE,
            AND CORPORATE NEGLIGENCE – WHATCOM COUNTY AND ITS SUBCONTRACTORS
16
            146.    Defendant Whatcom County had a nondelegable duty to care for pretrial detainees
17
     and to provide reasonable safety and medical care.
18
            147.    This duty extends to foreseeable medical harms and includes protecting inmates
19
     from medical emergencies that result in death.
20
            148.    This duty exists because pretrial detainees, by virtue of incarceration, are unable to
21
     obtain medical care for themselves.
22
            149.    Whatcom County and its subcontractors breached this duty, and were negligent,
23
     when they failed to have and follow proper training, policies, and procedures on the assessment of
24
     persons with apparent medical needs.
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 1           150.   Whatcom County and its subcontractors breached this duty, and were negligent,

 2   when they failed to adequately treat Paula’s medical needs. Indeed, because Paula’s medical needs

 3   were entirely ignored, Whatcom County and its subcontractors were grossly negligent.

 4           151.   Whatcom County and its subcontractors also breached that duty, and were

 5   negligent, when they failed to have and follow proper training, policies, and procedures on the

 6   provision of reasonable and necessary medical care and treatment to inmates.

 7           152.   Whatcom County and its subcontractors also breached that duty, and were

 8   negligent, when they failed to ensure adequate and proper medical staffing at the Jail.

 9           153.   Whatcom County and its subcontractors also breached that duty, and were

10   negligent, when they failed to ensure that Paula was properly supervised and/or that cell checks

11   were conducted in a safe and consistent manner.

12           154.   Whatcom County and its subcontractors also breached that duty, and were

13   negligent, when they failed to ensure that Paula received adequate medication.

14           155.   Whatcom County and its subcontractors also breached that duty, and were

15   negligent, when they ignored notification of Paula’s serious health conditions and need for medical

16   care.

17           156.   Whatcom County and its subcontractors also breached that duty, and were

18   negligent, when they failed to properly assess and treat Paula prior to her death.

19           157.   As a direct and proximate result of the breaches, failures, and negligence of

20   Whatcom County and its subcontractors, as described above and in other respects as well, Paula

21   died.

22           158.   Paula suffered unimaginable pre-death pain, suffering, embarrassment, and terror.

23           159.   As a direct and proximate result of the breaches, failures, and negligence of

24   Whatcom County and its subcontractors, as described above and in other respects as well, Plaintiffs

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 1   have incurred and will continue to incur general and special damages in an amount to be proven

 2   at trial.

 3               160.   As a direct and proximate result of the negligence of Whatcom County and its

 4   subcontractors, Paula’s children have suffered the loss of familial association with Paula. Plaintiffs

 5   have suffered and continue to suffer extreme grief and harm due to mental and emotional distress

 6   as a result of Paula’s wrongful death.

 7   B.          SECOND CAUSE OF ACTION – MEDICAL NEGLIGENCE, GROSS NEGLIGENCE,                                 AND
                 CORPORATE NEGLIGENCE – HOSPITAL
 8
                 161.   Hospital, by and through its employees, including Defendants Doe, owed Paula a
 9
     duty to follow the accepted standard of care in treating her medical condition.
10
                 162.   Hospital and its employees negligently provided treatment to Paula in violation of
11
     the applicable standard of care.
12
                 163.   Hospital had a duty to select its employees with reasonable care and to supervise all
13
     persons practicing medicine within its walls.
14
                 164.   Hospital breached that duty by failing to hire competent and properly trained
15
     employees, oversee care, and implement safety policies designed to prevent harm to patients.
16
                 165.   As a proximate result of the failure to follow the standard of care to which Paula
17
     was entitled, prior to his death she consciously suffered enormously. Hospital and its employees’
18
     failure to follow the standard of care not only caused enormous pre-death suffering, but also caused
19
     and contributed significantly to her wrongful death.
20
                 166.   As a direct and proximate result of Hospital and its employees’ conduct, as alleged
21
     herein, Plaintiffs have suffered a destruction and permanent impairment of their relationship with
22
     their mother, a destruction of the parent/child relationship, including the loss of her love and
23
     affection all in an amount to be proven at the time of trial.
24

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 1   C.     THIRD CAUSE OF ACTION – 42 U.S.C. § 1983 (MONELL) – WHATCOM COUNTY, NRC,
            POLICYMAKERS
 2
            167.    The acts and failures to act described above were done under color of law and are
 3
     in violation of 42 U.S.C. § 1983, depriving Plaintiffs of their civil rights.
 4
            168.    At the time Paula was detained by the County, it was clearly established in the law
 5
     that the Fourteenth Amendment imposes a duty on jail officials to provide humane conditions of
 6
     confinement, including adequate medical care, and to take reasonable measures to guarantee the
 7
     safety of the inmates.
 8
            169.    Defendants Whatcom County, NRC, and their policymakers knew of and
 9
     disregarded the excessive risk to inmate health and safety caused by the their inadequate formal
10
     and informal policies, including a lack of training, funding, and supervision, as identified above.
11
            170.    Defendants Whatcom County, NRC, and their policymakers knew of this excessive
12
     risk to inmate health and safety because it was obvious and because numerous other inmates had
13
     been injured and/or killed as a result of these inadequacies in the past.
14
            171.    Defendants Whatcom County, NRC, and their policymakers knew of this excessive
15
     risk to inmate health and safety because they were identified as precipitating factors to the in-
16
     custody death of Paula’s cousin, Shannon Jefferson, on March 10, 2014. See Complaint, Jefferson
17
     v. Whatcom County, No. 17-2-00733-8 (Whatcom Cnty. Super.).
18
            172.    Defendants Whatcom County, NRC, and their policymakers were responsible for a
19
     policy, practice, or custom of maintaining a longstanding constitutionally deficient safety and
20
     medical and mental health care, and training thereon, which placed inmates like Paula at substantial
21
     risk, as discussed above.
22
            173.    There was little to no supervision of Paula and inmates like her because Defendants
23
     Whatcom County, NRC, and their policymakers maintained a known policy and custom of
24
     understaffing and overcrowding, as discussed above.
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 1          174.    Indeed, even without the previous in-custody injuries, deaths, and near-deaths, it

 2   was obvious that the above-identified policies and established practices would result in the harm

 3   caused here. Defendants Whatcom County, NRC, and their policymakers were (1) expressly

 4   informed that many of their official policies were being ignored and that their unofficial or de facto

 5   policies would result in inmate deaths, yet deliberately did nothing to address these unofficial or

 6   de facto policies; and (2) that many of their official policies would result in inmate deaths, yet

 7   deliberately did nothing to address them.

 8          175.    Indeed, Defendants Whatcom County, NRC, and their policymakers had numerous

 9   opportunities to obtain training to appropriately address physically ill inmates, but knowingly and

10   deliberately declined to obtain it.

11          176.    Defendants Whatcom County, NRC, and their policymakers have consistently

12   failed to attend to the serious medical needs of inmates. Defendants Whatcom County, NRC, and

13   their policymakers knew that there were relatively inexpensive prevention measures available to

14   prevent inmate deaths in situations similar to Paula’s. Yet Defendants Whatcom County, NRC,

15   and their policymakers did not employ any of these measures. In addition, these defendants knew

16   that its employees were not providing adequate medical care, but continued to employ them

17   nonetheless.

18          177.    Defendants Whatcom County, NRC, and their policymakers knew of and

19   disregarded the excessive risk to inmate health and safety caused by their failure to provide

20   reasonable and necessary medical care and treatment.

21          178.    This callousness reflects a custom, pattern, and/or policy wherein Defendants

22   Whatcom County, NRC, and their policymakers either intentionally violated or were deliberately

23   indifferent to the health, welfare, and civil rights of Paula and her fellow inmates.

24

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 1          179.    As a direct and proximate result of the deliberate indifference of Defendants

 2   Whatcom County, NRC, and their policymakers, as described above and in other respects as well,

 3   Paula died a terrible and easily preventable death. She suffered pre-death pain, anxiety, and terror,

 4   before leaving behind a loving family.

 5          180.    As a direct and proximate result of the deliberate indifference of Defendants

 6   Whatcom County, NRC, and their policymakers, Plaintiffs have suffered the loss of familial

 7   association with Paula, in violation of their Fourteenth Amendment rights. Plaintiffs have suffered

 8   and continue to suffer extreme grief and harm due to mental and emotional distress as a result of

 9   Paula’s wrongful death.

10          181.    Defendants NRC and NRC and Whatcom County’s policymakers have shown

11   reckless and careless disregard and indifference to inmates’ rights and safety, and are therefore

12   subject to an award of punitive damages to deter such conduct in the future. Plaintiffs do not seek

13   an award of punitive damages against Whatcom County itself, however.

14   D.     FOURTH CAUSE        OF   ACTION – 42 U.S.C. § 1983 (MONELL) – HOSPITAL                     AND ITS
            POLICYMAKERS
15
            182.    Hospital is a health care entity organized under the laws of the State of Washington.
16
            183.    Hospital assumed a traditional governmental function and acted under color of state
17
     law by supplying the sole facility to which Jail pretrial detainees were transported to receive “fit
18
     for jail” assessments and emergency medical care while in custody.
19
            184.    The acts and failures to act described above were done under color of law and are
20
     in violation of 42 U.S.C. § 1983, depriving Plaintiffs of their civil rights.
21
            185.    At the time Paula was detained at the Hospital it was clearly established in the law
22
     that the Fourteenth Amendment imposes a duty on medical providers to provide adequate medical
23
     care and to take reasonable measures to guarantee her safety.
24

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 1          186.    The Hospital and its policymakers knew of and disregarded the excessive risk to

 2   patients’ health and safety caused by their inadequate formal and informal polices, as described

 3   above.

 4          187.    Hospital and its policymakers were responsible for a policy, practice, or custom of

 5   maintaining a longstanding constitutionally deficient health care system, and training thereon,

 6   which placed patients like Paula at a substantial risk for harm.

 7          188.    Upon information and belief, the acts and omissions of the healthcare providers that

 8   provided Paula with care at the Hospital were ratified by Hospital and its policymakers.

 9          189.    As a direct and proximate result of the deliberate indifference of Hospital and its

10   policymakers, as described above and in other respects as well, Paula died a terrible and easily

11   preventable death. She suffered pre-death pain, anxiety, and terror, and left behind a loving family.

12          190.    As a direct and proximate result of the deliberate indifference of Hospital and its

13   policymakers, Plaintiffs have suffered the loss of familial association with Paula, in violation of

14   their Constitutional rights. Plaintiffs have suffered and continue to suffer extreme grief and harm

15   due to mental and emotional distress as a result of Paula’s wrongful death.

16          191.    Hospital and its policymakers have shown reckless and careless disregard and

17   indifference to patient’s rights and safety, and are therefore subject to an award of punitive

18   damages to deter such conduct in the future.

19   E.     FIFTH CAUSE OF ACTION – 42 U.S.C. § 1983 – ALL INDIVIDUALLY NAMED DEFENDANTS,
            INCLUDING DEFENDANTS JOHN DOE 1-20.
20
            192.    The acts and failures to act described above were done under color of law and are
21
     in violation of 42 U.S.C. § 1983, depriving Plaintiffs of their civil rights.
22
            193.    Each individually named Defendant was subjectively aware that Paula was in need
23
     of medical assistance because of a serious medical condition.
24

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 1          194.    From the evidence presented above, a reasonable jailer and/or healthcare provider

 2   would have been compelled to infer that a substantial risk of serious harm existed. Indeed, each

 3   individually-named Defendant did infer that a substantial risk of serious harm existed, but failed

 4   to take any steps to alleviate this risk. And Paula died as a result.

 5          195.    Each individually-named Defendant displayed deliberate indifference when they:

 6                  a.   Ignored explicit requests to treat Paula’s serious medical condition.

 7                  b. Failed to administer a toxicology examination.

 8                  c. Failed to call an ambulance for emergency transport to the local hospital,

 9                       located minutes away, for diagnosis and treatment, at any time prior to the time

10                       of Paula’s death.

11                  d. Failed to call for emergency assistance at any time prior to Paula’s death.

12                  e. Failed to provide appropriate medical examination and treatment to Paula.

13                  f. Failed to provide prompt medical attention to Paula’s serious medical needs.

14                  g. Failed to obtain a blood pressure reading or any other medical examination

15                       reading.

16                  h. Failed to have and/or follow a detoxification program.

17                  i. Failed to follow the standards as published by the National Commission on

18                       Correctional Healthcare.

19                  j. Failed to administer intravenous therapy at any time prior to the time of Paula’s

20                       death.

21                  k. Ignored the obvious and horrific symptoms that were plainly visible on Paula’s

22                       person, such as vomiting and soiling her undergarments.

23                  l. Failed to review the medical chart of Paula, given the circumstances then and

24                       there existing.

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 1                  m. Failed to follow the policies and procedures relating to the diagnosis and

 2                     treatment of those suffering from drug and alcohol withdrawal and overdose.

 3                  n. Seriously aggravated Paula’s medical condition by failing to contact a physician

 4                     or emergency medical provider when her condition deteriorated, resulting in

 5                     symptoms such as vomiting, diarrhea, and weakness.

 6                  o. Seriously aggravated Paula’s medical condition by failing to determine that

 7                     prescribed medications were being unsuccessfully administered, or in the

 8                     alternative, in failing to administer prescribed medications by alternative

 9                     methods such as intravenously, intramuscularly, or rectally.

10                  p. Seriously aggravated her medical condition by failing to consistently document

11                     treatment, observations, and vital signs in the medical record.

12                  q. Seriously aggravated her medical condition by failing to provide adequate

13                     staffing levels needed for minimally adequate care.

14                  r. Seriously aggravated her medical condition by allowing medical staff to operate

15                     without benefit of physician supervision.

16                  s. Seriously aggravated her medical condition by failing to immediately transport

17                     her to hospital when there was no licensed physician or medical director on staff

18                     at the Jail.

19          196.    “The requirement of deliberate indifference is less stringent in medical needs cases

20   . . . because the responsibility to provide inmates with medical care does not generally conflict

21   with competing penological concerns. Thus, deference need not be given to the judgment of prison

22   officials as to decisions concerning medical needs.” Lyons v. Busi, 566 F. Supp. 2d 1172, 1191

23   (E.D. Cal. 2008) (citing McGuckin v. Smith, 974 F.2d 1050, 1060 (9th Cir. 1992); Hunt v. Dental

24   Dep't, 865 F.2d 198, 200 (9th Cir. 1989)).

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 1             197.   Paula’s in-custody death is “without doubt, sufficiently serious to meet the

 2   objective component” of the deliberate indifference test. Martinez v. Beggs, 563 F.3d 1082, 1088

 3   (10th Cir. 2009).

 4             198.   Pre-death, both detention officer and medical provider Defendants understood that

 5   Paula was experiencing a medical crisis. Despite her obvious need, they either dismissed her as a

 6   malingerer without undertaking any investigation into her condition or abdicated their gatekeeping

 7   roles by failing to relay the problem to medical staff.

 8             199.   As a direct and proximate result of the deliberate indifference of each individually

 9   named Defendant, as described above and in other respects as well, Paula died a terrible and easily

10   preventable death. She suffered pre-death pain, anxiety, and terror, before leaving behind a loving

11   family.

12             200.   As a direct and proximate result of the deliberate indifference of each individually

13   named Defendant, Plaintiffs have suffered the loss of familial association with Paula, in violation

14   of their Fourteenth Amendment rights. Plaintiffs have suffered and continue to suffer extreme

15   grief and harm due to mental and emotional distress as a result of Paula’s wrongful death.

16             201.   Each individually named Defendant has shown reckless and careless disregard and

17   indifference to inmates’ rights and safety, and are therefore subject to an award of punitive

18   damages to deter such conduct in the future.

19   F.        SIXTH CAUSE OF ACTION – AMERICANS WITH DISABILITIES ACT – WHATCOM COUNTY,
               NRC, AND HOSPITAL
20
               202.   Defendants Whatcom County, NRC, and Hospital discriminated against Paula by
21
     reason of her serious medical conditions, denying her the benefits of the services programs and
22
     activities to which she was entitled, including but not limited to the right to be free of
23
     discriminatory or disparate treatment by virtue of her serious illnesses.
24

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 1          203.    Defendants Whatcom County, NRC, and Hospital were not just negligent in

 2   treating Paula—they denied her access to medical services at all.

 3          204.    Despite numerous requests for medical services at the Jail, Paula was ignored by

 4   Defendants Whatcom County and NRC. Other inmates—inmates without Paula’s serious medical

 5   conditions—were not similarly ignored.

 6          205.    Despite coming into the Hospital on a “fit for jail” examination, Paula was not given

 7   a toxicology screen. Other inmates—inmates without Paula’s serious medical conditions—were

 8   given a toxicology screen.

 9          206.    As a result, Paula suffered harm in violation of his rights under Title II of the

10   American’s with Disabilities Act, 42 U.S.C. § 12132.

11          207.    Defendants Whatcom County, NRC, and Hospital were deliberately indifferent to

12   Paula’s serious health needs. Defendants Whatcom County, NRC, and Hospital had actual

13   knowledge of Paula’s serious health conditions, and they responded with deliberate indifference

14   by failing to take reasonable steps to prevent her death.

15          208.    The violation of Paula’s rights resulted from Defendants Whatcom County, NRC,

16   and Hospital policy or custom adopted or maintained with deliberate indifference.

17          209.    Because Paula was involuntarily in state custody, a special relationship arose

18   between Paula and Defendants Whatcom County, NRC, and Hospital such that these Defendants

19   had an obligation and affirmative duty to protect her from serious harm and death.

20          210.    As a direct and proximate result of the deliberate indifference of Defendants

21   Whatcom County, NRC, and Hospital, as described above and in other respects as well, Paula died

22   a terrible and easily preventable death. She suffered pre-death pain, anxiety, and terror, and left

23   behind a loving family.

24   G.     SEVENTH CAUSE OF ACTION – REHABILITATION ACT – WHATCOM COUNTY, NRC, AND
            HOSPITAL
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 1
            211.    On information and belief, Defendants Whatcom County, NRC, and Hospital are
 2
     recipients of federal financial assistance.
 3
            212.    Paula is a qualified individual with a disability under the meaning of the
 4
     Rehabilitation Act.
 5
            213.    By reason of his disability, Paula was excluded from participation in or was denied
 6
     the benefits of the services, programs, or activities of a public entity, specifically the Jail and
 7
     Hospital, including, inter alia, denying her a reasonable accommodation with respect to her serious
 8
     medical needs by refusing to provide medical services and refusal to administer a toxicology
 9
     examination.
10
            214.    As a direct and proximate result of the this unlawful conduct by Whatcom County,
11
     NRC, and Hospital, through their agents and employees, Paula suffered grievous bodily harm and
12
     emotional distress and was deprived of his right to have a reasonable accommodation of her severe
13
     disability as guaranteed under §504 of the Rehabilitation Act.
14
            215.    The acts and omissions of Whatcom County, NRC, and Hospital’s employees in
15
     this regard were intentional, wanton, malicious, oppressive, and made with reckless indifference
16
     to Paula’s rights, thus entitling Plaintiffs to an award of punitive damages.
17
                                          VI.      AMENDMENTS
18
            216.    Plaintiff hereby reserves the right to amend this Compliant.
19
                                       VII.     RELIEF REQUESTED
20
            217.    Damages have been suffered by all Plaintiffs and to the extent any state law
21
     limitations on such damages are purposed to exist they are inconsistent with the compensatory,
22
     remedial and/or punitive purposes of 42 U.S.C. § 1983, and therefore any such alleged state law
23
     limitations must be disregarded in favor of permitting an award of the damages prayed for herein.
24
            218.    WHEREFORE, Plaintiffs request a judgment against all Defendants:
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 1         (a) Fashioning an appropriate remedy and awarding general, special, and punitive

 2             damages, including damages for pain, suffering, terror, loss of consortium, and loss of

 3             familial relations, and loss of society and companionship under Washington State law

 4             and pursuant to 42 U.S.C. §§ 1983 and 1988, in an amount to be proven at trial;

 5         (b) Awarding reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1988, or as

 6             otherwise available under the law;

 7         (c) Declaring the defendants jointly and severally liable;

 8         (d) Awarding any and all applicable interest on the judgment; and

 9         (e) Awarding such other and further relief as the Court deems just and proper.

10         Respectfully submitted this 6th day of August, 2020.

11                                                      GALANDA BROADMAN, PLLC

12                                                      s/Gabriel S. Galanda
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13                                                      s/Ryan D. Dreveskracht
                                                        Ryan D. Dreveskracht, WSBA #42593
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